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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


In Re: AUTOMOTIVE PARTS                )     Master File No, 12-md-02311
ANTITRUST LITIGATION                   )     Honorable Marianne O. Battani
                                       )
                                       )
______________________________________ )
                                       )
In Re:                                 )
                                       )
AUTOMOTIVE WIRE HARNESSES CASES        )     Jury Trial Demanded
                                       )
                                       )
______________________________________ )
                                       )
THIS RELATES TO:                       )     Case No. ________________
                                       )
GROUP 1 AUTOMOTIVE, INC. AS            )
ASSIGNEE ON BEHALF OF GROUP 1          )
AUTOMOTIVE WHOLLY-OWNED                )
SUBSIDIARY DEALERSHIPS,                )
ASBURY AUTOMOTIVE GROUP, INC.          )
AS ASSIGNEE ON BEHALF OF               )
ASBURY AUTOMOTIVE WHOLLY-              )
OWNED SUBSIDIARY DEALERSHIPS,          )
VAN TUYL GROUP, LLC AS ASSIGNEE        )
ON BEHALF OF ASSIGNOR                  )
DEALERSHIPS, AND MAJOR                 )
AUTOMOTIVE COMPANIES, INC.             )
AS ASSIGNEE ON BEHALF OF               )
MAJOR AUTOMOTIVE WHOLLY-OWNED )
SUBSIDIARY DEALERSHIPS,                )
BRONX FORD, INC., AND                  )
CITY WORLD MOTORS, LLC,                )
                                       )
                  Plaintiffs.          )
                                       )
v.                                     )
                                       )
DENSO CORP.,                           )
DENSO INTERNATIONAL AMERICA, INC., )
FUJIKURA, LTD.,                        )
FUJIKURA AUTOMOTIVE AMERICA LLC, )



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FURUKAWA ELECTRIC,                 )
AMERICAN FURUKAWA, INC.,           )
LEAR CORPORATION,                  )
KYUNGSHIN-LEAR SALES AND           )
ENGINEERING, LLC,                  )
LEONI WIRING SYSTEMS, INC.,        )
LEONISCHE HOLDING, INC.,           )
SUMITOMO ELECTRIC INDUSTRIES, LTD.,)
SUMITOMO WIRING SYSTEMS, LTD.,     )
SUMITOMO ELECTRIC WIRING SYSTEMS,)
INC.,                              )
K&S WIRING SYSTEMS, INC.,          )
SUMITOMO WIRING (U.S.A.) INC.,     )
YAZAKI CORPORATION,                )
YAZAKI NORTH AMERICA, INC.,        )
TRAM, INC.,                        )
ROKAI RIKA CO., LTD.,              )
G.S. ELECTECH, INC.,               )
G.S.W. MANUFACTURING, INC.,        )
MITSUBISHI ELECTRIC CORPORATION, )
MITSUBISHI ELECTRIC US HOLDINGS,   )
INC.,                              )
MITSUBISHI ELECTRIC AUTOMOTIVE     )
AMERICA, INC.,                     )
ASTI CORPORATION,                  )
CHIYODA MANUFACTURING              )
CORPORATION,                       )
AND CHIYODA USA CORPORATION,       )
                                   )
                 Defendants.       )


                         PLAINTIFFS’ ORIGINAL COMPLAINT

       Plaintiffs Group 1 Automotive, Inc. as Assignee on Behalf of Group 1 Automotive

Wholly-owned Subsidiary Dealerships, Asbury Automotive Group, Inc. as Assignee on Behalf

of Asbury Automotive Wholly-owned Subsidiary Dealerships, Van Tuyl Group, LLC as

Assignee on Behalf of Assignor Dealerships, and       Major Automotive Companies, Inc. as

Assignee on Behalf of Major Automotive Wholly-owned Subsidiary Dealerships, Bronx Ford,

Inc., and City World Motors, LLC (collectively, “Plaintiffs”) file this Original Complaint (the




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“Complaint”), on behalf of themselves, against Defendants Denso Corp., Denso International

America, Inc., Fujikura, Ltd., Fujikura Automotive America LLC, Furukawa Electric, American

Furukawa, Inc., Lear Corporation, Kyungshin-Lear Sales and Engineering, LLC, Leoni Wiring

Systems, Inc., Leonische Holding, Inc., Sumitomo Electric Industries, Ltd., Sumitomo Wiring

Systems, Ltd., Sumitomo Electric Wiring Systems, Inc., K&S Wiring Systems, Inc., Sumitomo

Wiring (U.S.A.) Inc., Yazaki Corporation, Yazaki North America, Inc., TRAM, Inc., Rokai Rika

Co., Ltd., G.S. Electech, Inc., G.S.W. Manufacturing, Inc., Mitsubishi Electric Corporation,

Mitsubishi Electric US Holdings, Inc., Mitsubishi Electric Automotive America, Inc., Asti

Corporation, Chiyoda Manufacturing Corporation, and Chiyoda USA Corporation (collectively,

“Defendants”). For their Complaint, Plaintiffs state as follows:

      I. NATURE OF ACTION

         1.      The global conspiracy to fix the prices of various automotive parts in violation of

multiple countries’ antitrust laws has resulted in the “biggest criminal antitrust investigation that

[the Department of Justice has] ever encountered…with respect to the impact on U.S. business

and consumers, and the number of companies and executives that are subject to the

investigation.”1    The United States alone has levied billions of dollars in fines and multiple

companies and executives have pled guilty to various antitrust charges. Dozens of civil lawsuits

have been filed as well, including several class actions from both direct purchaser and indirect

purchasers of dozens of automotive parts. This action concerns the conspiracy to unlawfully fix

the prices of “Automotive Wire Harnesses” and the substantial harm that conspiracy has caused

Plaintiffs, who comprise some of the largest groups of automobile dealerships in the country.

         2.      Automobiles include various electronics.        The electronics control various

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    https://www.law360.com/articles/416139/doj-widens-antitrust-probe-into-auto-parts-industry.



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functions ranging from basic operating functions to luxury, safety, and comfort features.

Automotive Wire Harnesses are electrical distribution systems used to direct and control those

electronics. They are composed of wires, cables, and/or data circuits. They “are the ‘central

nervous systems’ of automotive vehicles and consist of wires or cables and data circuits that run

throughout the vehicles.” Dkt. No. 99 at 4. Automotive Wire Harnesses provide the mechanism

for transmitting power and signals throughout an automobile to its various electronics. One of

the Defendants, Yazaki, describes Automotive Wire Harnesses on its website as “similar to the

spinal cord found within the body – distributing electricity and information throughout the

vehicle to other components.”

       3.      Automotive Wire Harnesses also organize and bind the massive amounts of

wiring that spread through automobiles to support their electronic systems. For example, the

systems use color coded wires to identify which wires support which electronic feature.

Automotive Wire Harnesses are designed to not only organize a vehicle’s wiring system but also

protect it from various types of damage.

       4.      In short, Automotive Wire Harnesses are essential components of nearly every

modern automobile. As explained further below, Defendants control the vast majority of the

market and, therefore, were able to engage in a massive price-fixing conspiracy against nearly

the entire global automotive industry for several years. Defendants’ conduct raised the prices of

vehicles containing Automotive Wire Harnesses and replacement Automotive Wire Harnesses.

The harm Defendants intentionally caused to Plaintiffs and others is substantial and constitutes

an antitrust injury under both federal and state laws as set forth below.

       5.      Plaintiffs bring this action to recover for this harm for Automotive Wire

Harnesses and/or vehicles containing Automotive Wire Harnesses purchased by Plaintiffs,




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manufactured by Defendants or any co-conspirator, during the period from January 1, 1998 to

the present (the “Relevant Time Period”).

    II. JURISDICTION AND VENUE

        6.      This Court has jurisdiction over this action pursuant to Section 16 of the Clayton

Act (15 U.S.C. §26), Section 1 of the Sherman Act (15 U.S.C. §1), and 28 U.S.C. §§1331 and

1337. This Court has subject matter jurisdiction over the state law claims in this action pursuant

to 28 U.S.C. §§1332(a) and 1367 as Plaintiffs and Defendants are citizens of different states and

the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

        7.      Venue is proper in this district pursuant to Section 12 of the Clayton Act (15

U.S.C. §22), and 28 U.S.C. §§1391 (b), (c), and (d), because a substantial part of the events

giving rise to Plaintiffs’ claims occurred in this district, a substantial portion of the affected

interstate trade and commerce discussed below has been carried out in this district, and one or

more of the Defendants reside, are licensed to do business in, are doing business in, had agents

in, or are found or transact business in this district.

        8.      This Court has jurisdiction over each Defendant because each either directly or

through the ownership and/or control of its United States subsidiaries: (a) transacted business in

the United States, including in this district; (b) directly or indirectly sold or marketed substantial

quantities of Automotive Wire Harnesses designed for vehicles to be sold throughout the United

States, including in this district; (c) had substantial aggregate contacts with the United States as a

whole, including in this district; (d) colluded with conspirators who engaged in conspiratorial

conduct in the United States, including in this district; and/or (e) was engaged in an illegal price-

fixing conspiracy that was directed at, and had a direct, substantial, reasonably foreseeable and

intended effect of causing injury to, the business or property of persons and entities residing in,




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located in, or doing business throughout the United States. Defendants also conduct business

throughout the United States, including in this district, and they have purposefully availed

themselves of the laws of the United States and this district.

        9.       Defendants engaged in conduct both inside and outside of the United States that

caused direct, substantial, reasonably foreseeable and intended anti-competitive effects upon

interstate commerce within the United States, and upon import trade and commerce within the

United States.

        10.      The activities of Defendants and their co-conspirators were within the flow of,

were intended to, and did have, a substantial effect on interstate commerce of the United States.

Defendants’ products are sold in the flow of interstate commerce.

        11.      Automotive Wire Harnesses manufactured abroad by Defendants and sold for use

in automobiles either manufactured in the United States or manufactured abroad and sold in the

United States are goods brought into the United States for sale, and therefore constitute import

commerce. To the extent any Automotive Wire Harnesses are purchased in the United States,

and such Automotive Wire Harnesses do not constitute import commerce, Defendants’ unlawful

activities with respect thereto, as more fully alleged herein, had, and continue to have, a direct,

substantial and reasonably foreseeable effect on United States commerce. The anticompetitive

conduct, and its effect on United States commerce described herein, proximately caused antitrust

injury to Plaintiffs in the United States.

        12.      By reason of the unlawful activities alleged herein, Defendants substantially

affected commerce throughout the United States, causing injury to Plaintiffs.             Defendants,

directly and through their agents, engaged in activities affecting all states, to fix or inflate prices

of Automotive Wire Harnesses, and that conspiracy unreasonably restrained trade and adversely




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affected the market for Automotive Wire Harnesses.

       13.      Defendants’ conspiracy and wrongdoing injured Plaintiffs who indirectly

purchased Automotive Wire Harnesses as replacement parts and vehicles containing Automotive

Wire Harnesses.

   III. PARTIES

             a. Plaintiffs

       14.      Plaintiff Group 1 Automotive, Inc. as Assignee on Behalf of Group 1 Automotive

Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal place of

business in Houston, Texas. The wholly-owned subsidiary dealerships identified on the attached

Exhibit A have assigned their claims to Group 1 Automotive, Inc. The dealerships are (or have

been) authorized dealers for at least the following: Audi, BMW, Buick, Chevrolet, Chrysler,

Dodge, Ford, GMC, Honda, Hyundai, Infiniti, Jeep, Kia, Lexus, Lincoln, Mazda, Mercedes-

Benz, Mini, Mitsubishi, Nissan, Plymouth, Pontiac, Porsche, Ram, Scion, Smart, Subaru, Suzuki,

Toyota, Volkswagen, and Volvo. Group 1 Automotive, Inc. as Assignee on Behalf of Group 1

Automotive Wholly-owned Subsidiary Dealerships (hereinafter, “Group 1 Automotive”)

purchases new vehicles containing Automotive Wire Harnesses manufactured by Defendants

and/or replacement parts for Automotive Wire Harnesses manufactured by Defendants. Group 1

Automotive purchased and received the Automotive Wire Harnesses and/or vehicles containing

Automotive Wire Harnesses in the following states: California, Florida, Kansas, Massachusetts,

Mississippi, New Hampshire, New Mexico, New York, and South Carolina.                  Group 1

Automotive has also displayed, sold, serviced, and advertised its vehicles in those states during

the Relevant Time Period.       Accordingly, Group 1 Automotive has been forced to pay

Defendants’ supra-competitive prices. Group 1 Automotive, therefore, has been injured in its




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business and/or property as a result of the unlawful conduct alleged herein.

       15.     Plaintiff Asbury Automotive Group, Inc. as Assignee on Behalf of Asbury

Automotive Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal

place of business in Duluth, Georgia. The wholly-owned subsidiary dealerships identified on the

attached Exhibit B have assigned their claims to Asbury Automotive Group, Inc.                     The

dealerships are (or have been) authorized dealers for at least the following: Acura, Audi, BMW,

Buick, Cadillac, Chevrolet, Chrysler, Daewoo, Dodge, Ford, GMC, Honda, Hyundai, Infiniti,

Isuzu, Jaguar, Jeep, Kia, Land Rover, Lexus, Lincoln, Mazda, Mercedes-Benz, Mini, Mitsubishi,

Nissan, Pontiac, Porsche, Toyota, Scion, Subaru, Suzuki, Volkswagen, and Volvo. Asbury

Automotive Group, Inc. as Assignee on Behalf of Asbury Automotive Wholly-owned Subsidiary

Dealerships (hereinafter, “Asbury Automotive”) purchases new vehicles containing Automotive

Wire Harnesses manufactured by Defendants and/or replacement parts for Automotive Wire

Harnesses manufactured by Defendants.         Asbury Automotive purchased and received the

Automotive Wire Harnesses and/or vehicles containing Automotive Wire Harnesses in the

following states: Arkansas, California, Florida, Missouri, Mississippi, North Carolina, Oregon,

and South Carolina. Asbury Automotive has also displayed, sold, serviced, and advertised its

vehicles in those states during the Relevant Time Period. Accordingly, Asbury Automotive has

been forced to pay Defendants’ supra-competitive prices. Asbury Automotive, therefore, has

been injured in its business and/or property as a result of the unlawful conduct alleged herein.

       16.     Plaintiff Van Tuyl Group, LLC as Assignee on Behalf of Assignor Dealerships is

a Delaware limited liability company with its principal place of business in Irving, Texas. The

assignor dealerships identified on the attached Exhibit C have assigned their claims to Van Tuyl

Group, LLC. The dealerships are (or have been) authorized dealers for at least the following:




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Acura, Alpha Romeo, Audi, BMW, Buick, Cadillac, Chevrolet, Chrysler, Dodge, Fiat, Ford,

GMC, Honda, Hyundai, Infiniti, Jeep, Kia, Lexus, Lincoln, Mazda, Nissan, Subaru, Toyota,

Volkswagen, and Volvo. Van Tuyl Group, LLC as Assignee on Behalf of Assignor Dealerships

(hereinafter, “VTG”) purchases new vehicles containing Automotive Wire Harnesses

manufactured by Defendants and/or replacement parts for Automotive Wire Harnesses

manufactured by Defendants. VTG purchased and received the Automotive Wire Harnesses

and/or vehicles containing Automotive Wire Harnesses in the following states:           Arizona,

California, Florida, Illinois, Missouri, Nebraska, and New Mexico. VTG has also displayed,

sold, serviced, and advertised its vehicles in those states during the Relevant Time Period.

Accordingly, VTG has been forced to pay Defendants’ supra-competitive prices.              VTG,

therefore, has been injured in its business and/or property as a result of the unlawful conduct

alleged herein.

       17.        Plaintiff Major Automotive Companies, Inc. as Assignee on Behalf of Major

Automotive Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal

place of business in Long Island City, New York. The wholly-owned subsidiary dealerships

identified on the attached Exhibit D have assigned their claims to Major Automotive Companies,

Inc. The dealerships are (or have been) authorized dealers for at least the following: Chevrolet,

Chrysler, Jeep, and Dodge. Major Automotive Companies, Inc. as Assignee on Behalf of Major

Automotive Wholly-owned Subsidiary Dealerships (hereinafter, “Major Automotive”) purchases

new vehicles containing Automotive Wire Harnesses manufactured by Defendants and/or

replacement parts for Automotive Wire Harnesses manufactured by Defendants.               Major

Automotive purchased and received the Automotive Wire Harnesses and/or vehicles containing

Automotive Wire Harnesses in New York. Major Automotive has also displayed, sold, serviced,




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and advertised its vehicles in New York during the Relevant Time Period. Accordingly, Major

Automotive has been forced to pay Defendants’ supra-competitive prices. Major Automotive,

therefore, has been injured in its business and/or property as a result of the unlawful conduct

alleged herein.

       18.        Plaintiff Bronx Ford, Inc. is a Delaware corporation with its principal place of

business in Bronx, New York. Bronx Ford, Inc. operates a dealership under the trade name City

World Ford, formerly known as Bronx Ford Lincoln Mercury, Inc. and doing business as City

World Ford Lincoln Mercury. The dealerships are (or have been) authorized dealers for at least

the following: Ford and Lincoln. Bronx Ford purchases new vehicles containing Automotive

Wire Harnesses manufactured by Defendants and/or replacement parts for Automotive Wire

Harnesses manufactured by Defendants. Bronx Ford brings claims on behalf of its dealership

located in New York. Bronx Ford has also displayed, sold, serviced, and advertised its vehicles

in New York during the Relevant Time Period. Accordingly, Bronx Ford has been forced to pay

Defendants’ supra-competitive prices. Bronx Ford, therefore, has been injured in its business

and/or property as a result of the unlawful conduct alleged herein.

       19.        Plaintiff City World Motors, LLC is a Delaware corporation with its principal

place of business in Bronx, New York. City World Motors, LLC operates a dealership under the

trade name City World Toyota Scion. The dealership is (or has been) an authorized dealer for at

least the following: Toyota and Scion. City World Motors, LLC (hereinafter, “City World

Motors”) purchases new vehicles containing Automotive Wire Harnesses manufactured by

Defendants and/or replacement parts for Automotive Wire Harnesses manufactured by

Defendants. City World Motors brings claims on behalf of its dealership located in New York.

City World Motors has also displayed, sold, serviced, and advertised its vehicles in New York




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during the Relevant Time Period. Accordingly, City World Motors has been forced to pay

Defendants’ supra-competitive prices. City World Motors, therefore, has been injured in its

business and/or property as a result of the unlawful conduct alleged herein.

             b. Defendants

                    i. DENSO

       20.      Defendant Denso Corp. is a Japanese corporation with its principal place of

business in Kariya, Japan. Defendant Denso Corp. – directly and/or through its subsidiaries,

which it wholly owned and/or controlled – manufactured, marketed and/or sold Automotive

Wire Harnesses that were purchased throughout the United States, including in this district,

during the Relevant Time Period.

       21.      Defendant Denso International America, Inc. is a Delaware corporation with its

principal place of business in Southfield, Michigan. It is a subsidiary of and wholly owned

and/or controlled by its parent, Denso Corp. Defendant Denso International America, Inc.

manufactured, marketed and/or sold Automotive Wire Harnesses that were purchased throughout

the United States, including in this district, during the Relevant Time Period. At all times during

the Relevant Time Period, its activities in the United States were under the control and direction

of its Japanese parent.

       22.      Defendants Denso Corp., and Denso International America, Inc. are collectively

referred to as “Denso.”

                   ii. Yazaki

       23.      Defendant Yazaki Corporation is a Japanese corporation with its principal place

of business in Tokyo, Japan. Yazaki Corporation directly and/or through its subsidiaries, which it

wholly owned and controlled, manufactured, marketed and/or sold Automotive Wire Harnesses




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that were purchased throughout the United States, including in this district, during the Relevant

Time Period.

          24.   Defendant Yazaki North America, Inc. (“Yazaki North America”) is an Illinois

corporation and has its principal place of business in Canton Township, Michigan. It is a

subsidiary of and owned and controlled by its parent, Yazaki Corporation.             Yazaki North

America manufactured, marketed and/or sold Automotive Wire Harnesses that were purchased

throughout the United States, including in this district, during the Relevant Time Period.

          25.   Defendants Yazaki Corporation and Yazaki North America, Inc. are collectively

referred to as “Yazaki.”

                  iii. Fujikura

          26.   Defendant Fujikura, Ltd. is a Japanese company with its principal place of

business in Tokyo, Japan. Fujikura Ltd., directly and/or through its subsidiaries, which it wholly

owned and/or controlled, manufactured, marketed and/or sold Automotive Wire Harnesses that

were purchased throughout the United States, including in this district, during the Relevant Time

Period.

          27.   Defendant Fujikura Automotive America LLC is a Delaware company

headquartered in Novi, Michigan. It is a subsidiary of and wholly owned and/or controlled by its

parent, Fujikura Ltd. Fujikura Automotive America LLC manufactured, marketed and/or sold

Automotive Wire Harnesses that were purchased throughout the United States, including in this

district, during the Relevant Time Period. At all times during the Relevant Time Period, its

activities in the United States were under the control and direction of its Japanese parent.

          28.   Defendants Fujikura Ltd. and Fujikura Automotive America, LLC are collectively

referred to as “Fujikura.”




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                  iv. Furukawa

       29.     Defendant Furukawa Electric is a Japanese corporation, with its principal place of

business in Tokyo, Japan. Defendant Furukawa Electric, directly and/or through its subsidiaries,

which it wholly owned and/or controlled, manufactured, marketed and/or sold Automotive Wire

Harnesses that were purchased throughout the United States, including in this district, during the

Relevant Time Period.

       30.     Defendant American Furukawa, Inc. (“American Furukawa”) is a Delaware

corporation, with its principal place of business in Plymouth, Michigan. It is a subsidiary of and

wholly owned and/or controlled by its parent, Furukawa Electric. Defendant American Furukawa

manufactured, marketed and/or sold Automotive Wire Harnesses that were purchased throughout

the United States, including in this district, during the Relevant Time Period. At all times during

the Relevant Time Period, its activities in the United States were under the control and direction

of its Japanese parent.

       31.     Defendants Furukawa Electric and American Furukawa are collectively referred

to as “Furukawa.”

                    v. Lear

       32.     Defendant Lear Corporation is a Delaware corporation with its principal place of

business in Southfield, Michigan. Co-conspirator Lear Corporation, directly or through its

subsidiaries, which it wholly owned and/or controlled, manufactured, marketed and/or sold

Automotive Wire Harnesses that were purchased throughout the United States, including in this

district, during the Relevant Time Period.

       33.     Defendant Kyungshin-Lear Sales and Engineering, LLC is a Delaware

corporation with its principal place of business in Selma, Alabama. It is a joint venture between




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Lear Corporation and Kyungshin Corporation of South Korea. Co-conspirator Kyungshin-Lear

Sales and Engineering, LLC manufactured, marketed and/or sold Automotive Wire Harnesses

that were purchased throughout the United States, including in this district, during the Relevant

Time Period. Defendant Lear Corporation and Kyungshin-Lear Sales and Engineering, LLC are

collectively referred to as “Lear.”

       34.     Defendant Lear Corporation filed for Chapter 11 bankruptcy protection on July 7,

2009. After their emergence from Chapter 11 bankruptcy proceedings on November 9, 2009,

Lear Corporation continued to sell Automotive Wire Harnesses pursuant to and as part of its

participation in furtherance of the conspiracy. From and after November 2009, Lear Corporation

had significant Automotive Wire Harness sales in the United States at supra-competitive prices.

In 2010 alone, Lear Corporation had $2.5593 billion in total sales in its electric power and

management systems, which includes significant sales for Automotive Wire Harnesses in the

United States pursuant to the alleged conspiracy.

                  vi. Leoni

       35.     Defendant Leoni Wiring Systems, Inc. is a Delaware corporation with its

principal place of business in Tucson, Arizona. It is a subsidiary or affiliate of and wholly owned

and/or controlled by, Leoni Bordnetz Systeme Gmbh. Defendant Leoni Wiring Systems Inc.

manufactured, marketed and/or sold Automotive Wire Harnesses that were purchased throughout

the United States, including in this district, during the Relevant Time Period.

       36.     Defendant Leonische Holding, Inc. is a Delaware corporation with its principal

place of business in Tucson, Arizona. It is a subsidiary of and wholly owned and/or controlled by

its parent, Leoni AG. Defendant Leonische manufactured, marketed and/or sold Automotive

Wire Harnesses that were purchased throughout the United States, including in this district,




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during the Relevant Time Period. At all times during the Relevant Time Period, its activities in

the United States were under the control and direction of its German parent, Leoni AG.

          37.   Defendants Leonische Holding, Inc. and Leoni Wiring Systems, Inc. are

collectively referred to as “Leoni.”

                  vii. Sumitomo

          38.   Defendant Sumitomo Electric Industries, Ltd. (“Sumitomo Electric”) is a

Japanese corporation with its principal place of business in Osaka, Japan. Defendant Sumitomo

Electric Industries, Ltd. manufactured, marketed and/or sold Automotive Wire Harnesses that

were purchased throughout the United States, including in this district, during the Relevant Time

Period.

          39.   Defendant Sumitomo Wiring Systems, Ltd. is a Japanese corporation, with its

principal place of business in Yokkaichi, Japan. Defendant Sumitomo Wiring Systems, Ltd. has

asserted that it is “proud to hold the world’s top share in the automobile wiring harness field.”

Sumitomo Wiring Systems, Ltd. is a subsidiary of Sumitomo Electric Industries, Ltd. and is

controlled by Sumitomo Electric Industries, Ltd. Defendant Sumitomo Wiring Systems, Ltd.

manufactured, marketed and/or sold Automotive Wire Harnesses that were purchased throughout

the United States, including in this district, during the Relevant Time Period.

          40.   Defendant Sumitomo Electric Wiring Systems, Inc. is a Delaware corporation

with its principal place of business in Bowling Green, Kentucky. It is a joint venture between

Defendants Sumitomo Electric Industries, Ltd. and Sumitomo Wiring Systems, Ltd. Defendant

Sumitomo Electric Wiring Systems, Inc. manufactured, marketed and/or sold Automotive Wire

Harnesses that were purchased throughout the United States, including in this district, during the

Relevant Time Period. At all times during the Relevant Time Period, its activities in the United




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States were under the control and direction of its Japanese joint venture participants.

       41.     Defendant K&S Wiring Systems, Inc. is a Delaware corporation with its principal

place of business in La Vergne, Tennessee. It is a subsidiary of and wholly owned and/or

controlled by its parent, Sumitomo Electric Industries, Ltd. Defendant K&S Wiring Systems,

Inc. manufactured, marketed and/or sold Automotive Wire Harnesses that were purchased

throughout the United States, including in this district, during the Relevant Time Period. At all

times during the Relevant Time Period, its activities in the United States were under the control

and direction of its Japanese parent.

       42.     Defendant Sumitomo Wiring (U.S.A.) Inc. is a Michigan corporation with its

principal place of business in Novi, Michigan. It is a joint venture between Defendants

Sumitomo Electric Industries, Ltd. and Sumitomo Wiring Systems, Ltd. Defendant Sumitomo

Wiring (U.S.A.) Inc. manufactured, marketed and/or sold Automotive Wire Harnesses that were

purchased throughout the United States, including in this district, during the Relevant Time

Period. At all times during the Relevant Time Period, its activities in the United States were

under the control and direction of its Japanese joint venture participants.

       43.     Defendants Sumitomo Electric Industries, Ltd., Sumitomo Wiring Systems, Ltd.,

Sumitomo Electric Wiring Systems, Inc., K&S Wiring Systems, Inc. and Sumitomo Wiring

Systems (U.S.A.) Inc., are collectively referred to as “Sumitomo.”

                 viii. Tokai Rika

       44.     Defendant TRAM, Inc. (“TRAM”) is a Michigan corporation with its principal

place of business in Plymouth, Michigan. Defendant TRAM is a subsidiary of and controlled by

Tokai Rika Co., Ltd. Defendant TRAM, Inc. manufactured, marketed and/or sold Automotive

Wire Harnesses that were purchased throughout the United States, including in this district,




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during the Relevant Time Period.

         45.   Defendant Tokai Rika Co., Ltd. is a Japanese company with its principal place of

business in Niwa-gun, Japan. Defendant Tokai Rika Co., Ltd. manufactured, marketed and/or

sold Automotive Wire Harnesses that were purchased throughout the United States, including in

this district, during the Relevant Time Period.

         46.   Defendants TRAM and Tokai Rika Co., Ltd. are collectively referred to as “Tokai

Rika.”

                  ix. G.S. Electech

         47.   Defendant G.S. Electech, Inc. is a Japanese company with its principal place of

business in Toyota City, Japan. Defendant G.S. Electech, Inc. manufactured, marketed and/or

sold portions of Automotive Wire Harnesses that were purchased throughout the United States,

including in this district, during the Relevant Time Period.

         48.   Defendant G.S.W. Manufacturing, Inc. is an Ohio corporation, with its principal

place of business in Findlay, Ohio. It is a subsidiary of and owned and controlled by its parent,

G.S. Electech, Inc. At all times during the Relevant Time Period, its activities in the United

States were under the control and direction of its Japanese parent. Defendant G.S.W.

Manufacturing, Inc. manufactured, marketed and/or sold portions of Automotive Wire Harnesses

that were purchased throughout the United States, including in this district, during the Relevant

Time Period.

         49.   Defendants G.S. Electech, Inc. and G.S.W. Manufacturing, Inc. are collectively

referred to as “G.S. Electech.”

                   x. Mitsubishi

         50.   Defendant Mitsubishi Electric Corporation is a Japanese corporation with its




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principal place of business in Tokyo, Japan. Mitsubishi — directly and/or through its

subsidiaries, which it wholly owned and/or controlled — manufactured, marketed and/or sold

Automotive Wire Harnesses that were purchased throughout the United States, including in this

District, during the Relevant Time Period.

          51.   Defendant Mitsubishi Electric US Holdings, Inc. is a Delaware corporation with

its principal place of business in Cypress, California. It is a subsidiary of and wholly owned

and/or controlled by its parent, Mitsubishi Electric Corporation. Mitsubishi Electric US

Holdings, Inc. – directly and/or through its subsidiaries, which it wholly owned and/or controlled

– manufactured, marketed and/or sold Automotive Wire Harnesses that were purchased

throughout the United States, including in this District, during the Relevant Time Period.

          52.   Defendant Mitsubishi Electric Automotive America, Inc. is a Delaware

corporation with its principal place of business in Mason, Ohio. It is a subsidiary of and wholly

owned and/or controlled by its parent, Mitsubishi Electric US Holdings. Mitsubishi Electric

Automotive America, Inc. manufactured, marketed and/or sold Automotive Wire Harnesses that

were purchased throughout the United States, including in this District, during the Relevant Time

Period.

          53.   Defendants Mitsubishi Electric Corporation, Mitsubishi Electric US Holdings,

Inc., and Mitsubishi Electric Automotive America, Inc. are collectively referred to as

“Mitsubishi.”

                  xi. Asti Corporation

          54.   Defendant Asti Corporation (“Asti”) is a Japanese corporation with its principal

place of business in Hamamatsu, Japan. Defendant Asti Corp. — directly and/or through its

subsidiaries, which it wholly owned and/or controlled — manufactured, marketed and/or sold




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Automotive Wire Harnesses that were installed in vehicles purchased throughout the United

States, including in this district, during the Relevant Time Period.

                  xii. Chiyoda

       55.      Defendant Chiyoda Manufacturing Corporation is a Japanese corporation with its

principal place of business in Takamatsu, Japan. Chiyoda — directly and/or through its

subsidiaries, which it wholly owned and/or controlled — manufactured, marketed and/or sold

Automotive Wire Harnesses that were purchased throughout the United States, including in this

district, during the Relevant Time Period.

       56.      Defendant Chiyoda USA Corporation is a Delaware corporation with its principal

place of business in Greencastle, Indiana. It is a subsidiary of and wholly owned and/or

controlled by its parent, Chiyoda Manufacturing Corporation. Chiyoda USA Corporation, Inc. –

directly and/or through its subsidiaries, which it wholly owned and/or controlled – manufactured,

marketed and/or sold Automotive Wire Harnesses that were purchased throughout the United

States, including in this district, during the Relevant Time Period. During the Relevant Time

Period, Chiyoda USA’s actions were under the direction and control of Chiyoda Manufacturing.

       57.      Defendants Chiyoda Manufacturing Corporation and Chiyoda USA Corporation

are collectively referred to as “Chiyoda.”

             c. Agents and Co-Conspirators

       58.      Each Defendant acted as the principal of or agent for other Defendants with

respect to the acts, violations, and common course of conduct alleged.

       59.      Co-conspirator S-Y Systems Technologies Europe, GMBH, (“S-Y Systems

Technologies”) is a German corporation with its principal place of business in Regensburg,

Germany. S-Y Systems Technologies is a joint venture between Yazaki Corporation and



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Continental AG. During the Relevant Time Period, S-Y Systems Technologies was at least

partially controlled by Yazaki Corporation. S-Y Systems Technologies, directly and/or through

its subsidiaries, which it wholly owned and/or controlled, manufactured, marketed and/or sold

Automotive Wire Harnesses that were purchased throughout the United States, including in this

district, during the Relevant Time Period.

       60.     Co-conspirator S-Y Systems Technologies, America, LLC, is a Delaware

corporation, with its principal place of business in Dearborn, Michigan. It is currently a wholly

owned subsidiary of and/or controlled by its parent Yazaki Corporation, having been purchased

by Yazaki Corporation in 2005, before which time it was a joint venture between Siemens VDO

Automotive AG and Yazaki Corporation and controlled by S-Y Systems Technologies Europe,

GMBH. S-Y Systems Technologies, America, LLC manufactured, marketed and/or sold

Automotive Wire Harnesses that were purchased throughout the United States, including in this

district, during the Relevant Time Period. At all times during the Relevant Time Period, its

activities in the United States were under the control and direction of either S-Y Systems

Technologies Europe, GMBH, or its current Japanese parent, Yazaki Corporation.

       61.     Co-conspirator Furukawa Wiring Systems, America, Inc. (“Furukawa Wiring”) is

a Delaware corporation with its principal place of business in El Paso, Texas. Furukawa Electric

owns 60% of Furukawa Wiring’s shares and American Furukawa owns 40%. Furukawa Wiring,

operating under the names, Furukawa Lear Corporation and Lear Furukawa Corporation, was a

joint venture, between Furukawa Electric and Lear Corporation. In 1987, Furukawa Electric and

a Lear Corporation corporate predecessor began Furukawa Wiring as a joint venture to

manufacture and sell wire harnesses to Japanese automobile manufacturers in North America.

Lear held an 80% stake in the venture, with Furukawa holding the remaining 20%. In April




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2009, Furukawa purchased an additional 60% of the joint venture, raising its stake to 80%, and

changed the joint venture’s name to Furukawa Lear Corporation. In June 2010, Furukawa Lear

Corporation became a wholly owned subsidiary of Furukawa called Furukawa Wiring. Furukawa

Wiring and its predecessors manufactured, marketed and/or sold Automotive Wire Harnesses

that were purchased throughout the United States, including in this district, during the Relevant

Time Period.

        62.     On information and belief, additional persons and entities participated as co-

conspirators with Defendants in the conspiracy and performed acts in furtherance of the

conspiracy and anti-competitive conduct.         The identities of such persons and entities are

currently unknown.

        63.     Whenever in this Complaint reference is made to any act, deed or transaction of

any corporation or limited liability entity, the allegation means that the corporation or limited

liability entity engaged in the act, deed or transaction by or through its officers, directors, agents,

employees or representatives while they were actively engaged in the management, direction,

control or transaction of the corporation’s or limited liability entity’s business or affairs.

    IV. PROCEDURAL HISTORY

        64.     On August 25, 2016, the United States District Court for the Eastern District of

Michigan preliminarily approved the proposed settlement of certain class claims against some of

the Defendants for claims related to the antitrust conduct described herein related to Automotive

Wire Harnesses. This settlement was entered into as part of the “second group” of settlements

that provide benefits to eligible automobile dealers. See Exhibit E. Plaintiffs did not opt-out of

the “first group” of settlements that provide benefits to eligible automobile dealers related to the

massive antitrust conspiracy to fix the prices of automotive parts. However, as of the date of




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filing this Complaint, Plaintiffs have still not received a single dollar or benefit for their claims

that were settled as part of the “first group,” which was received final approval on December 7,

2015.

        65.      Pursuant to Rule 23, the Court ordered the parties in the class action to provide

notice to the absent class members advising them of, among other things, their right to opt-out of

any of the proposed settlements in the “second group.”

        66.      Plaintiffs properly exercised their right to opt out from the settlements related to

all automotive parts in the “second group” including Automotive Wire Harnesses prior to the

opt-out deadline provided in the notice.

        67.      As set forth herein, Defendants engaged in a massive, anti-competitive conspiracy

to raise the prices of Automotive Wire Harnesses above competitive levels.              As a result,

Plaintiffs, who are automobile dealers, paid supra-competitive prices for Automotive Wire

Harnesses and/or vehicles containing Automotive Wire Harnesses. Defendants have caused

Plaintiffs substantial antitrust injuries to their business and property. As such, Plaintiffs now

bring this action for damages, injunctive relief, and other relief pursuant to federal antitrust laws

and state antitrust, unfair competition, unjust enrichment and consumer protection laws, and

demand a trial by jury.

   V. FACTUAL ALLEGATIONS

              a. The Automotive Wire Harness Market

        68.      Automotive Wire Harnesses are installed both as original equipment from an

automobile manufacturer (“OEM”) and also as replacement parts when the systems become

defective or damaged. For new automobiles, OEMs purchase Automotive Wire Harnesses from

parts suppliers such as Defendants. OEMs may also purchase Automotive Wire Harnesses from




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component manufacturers.

       69.        When purchasing Automotive Wire Harnesses, OEMs issue Requests for

Quotation (“RFQs”) to automotive parts suppliers on a model-by-model basis for model specific

parts. Automotive parts suppliers submit quotations, or bids, to the OEMs in response to RFQs,

and the OEMs award the business to the selected supplier for the lifespan of the model, which is

usually four to six years.      Typically, the bidding process for a particular model begins

approximately three years prior to the start of production. Defendants comprise the majority of

auto parts suppliers who manufacture Automotive Wire Harnesses for sale to OEMs.

       70.       Defendants and their co-conspirators supplied OEMs with Automotive Wire

Harnesses both for new vehicles and as replacement parts for vehicles manufactured and/or sold

in the United States. Defendants and their co-conspirators manufactured Automotive Wire

Harnesses in the United States and/or for installation in vehicles manufactured and sold in the

United States.     Defendants and their co-conspirators also manufactured Automotive Wire

Harnesses in Japan for export to the United States for installation in vehicles manufactured and

sold in the United States and for installation in vehicles manufactured in Japan but exported to

the United States for sale.

       71.       Plaintiffs are automobile dealers and purchased new vehicles and/or replacement

parts for vehicles from OEMs. As a result, Plaintiffs indirectly purchased Automotive Wire

Harnesses from one or more of Defendants.

       72.       The global Automotive Wire Harness market has continued to increase in size. It

was estimated to be $21.9 billion USD in 2009. It is expected to reach $54.2 billion by 2021.

       73.       The global Automotive Wire Harness market is dominated by large manufacturers

who control the vast majority of the market, including five of the Defendants.




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       74.    As of 2009, Yazaki controlled almost 30% of the global market for Automotive

Wire Harnesses. Approximately 77% of Yazaki’s sales are from Automotive Wire Harnesses,

and 37% of its 2007 sales were in the Western Hemisphere. Yazaki’s largest customers are

Toyota, Chrysler, Ford, Renault-Nissan, Honda, and General Motors.          In the Western

Hemisphere, Yazaki supplies Volvo, Chrysler, Ford, General Motors, Honda, Isuzu, Mazda,

Mitsubishi, Nissan, Renault, Subaru, Suzuki and Toyota.

       75.    Sumitomo is the second largest manufacturer of Automotive Wire Harnesses, and

controls 24% of the global market. Sumitomo supplies Volkswagen, Toyota, Honda and Nissan.

       76.    Leoni controls 6% of the global market for Automotive Wire Harnesses.

       77.    Lear controls almost 5% of the global market for Automotive Wire Harnesses.

Lear supplies Toyota, General Motors, Ford, and BMW.

       78.    Furukawa controls almost 4% of the global market for Automotive Wire

Harnesses.

       79.    Fujikura controls 2.69% of the global market for Automotive Wire Harnesses.

Fujikura supplies Volkswagen and Subaru, among other OEMs.

       80.    Defendant Asti claims that its customers for Automotive Wire Harnesses include

Suzuki, Toyota, and Honda.

       81.    Defendant Chiyoda USA Corporation states on its website that its customers for

Automotive Wire Harnesses include Subaru of Indiana Automotive, Inc. and Ford Motor

Company.

       82.    Tokai Rika supplies Toyota, among other OEMs.

       83.    S-Y Systems supplies Ford, among other OEMs.

       84.    Cars manufactured by the above-described OEMs containing Automotive Wire




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Harnesses are purchased by Plaintiffs in the United States.

        85.      Defendants are the dominant suppliers of Automotive Wire Harnesses in the

United States and throughout the world.

              b. Defendants’ Conspiracy and Anti-Competitive Conduct

        86.      The major costs for production of Automotive Wire Harnesses remained steady or

decreased during the Relevant Time Period. In a free and competitive market, that should lead to

decreased prices of the product. Competitors are able to lower their prices to try to capture more

market share. As such, prices go down as competitors do what they are supposed to do—

compete. When the market at issue is rigged by a conspiracy, however, this does not happen.

        87.      Where competitors have conspired to fix prices and hinder competition, prices

remain the same or even increase despite the competitors’ costs remaining steady or even

decreasing. That is what happened with Automotive Wire Harnesses. The price of Automotive

Wire Harnesses increased during the Relevant Time Period, while the costs remained steady.

With steady costs, Defendants should have lowered their prices for Automotive Wire Harnesses

to compete with each other. Because Defendants conspired to fix the prices of Automotive Wire

Harnesses and not compete with each other, the steady costs of manufacture did not lower the

overall prices for Automotive Wire Harnesses.

        88.      Thus, Defendants’ anti-competitive conspiracy and behavior have caused price

increases for Plaintiffs.

        89.      The nature of the Automotive Wire Harness Market in the United States is

conducive to a price-fixing agreement, and has made collusion particularly attractive in this

market. Specifically, the Automotive Wire Harness market: (1) has high barriers to entry;

(2) has inelasticity of demand; (3) is highly concentrated; and (4) is rife with opportunities to




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conspire.

         90.     Where a group has entered into a conspiracy to raise prices above competitive

levels for a particular market, new companies would seemingly use that as an opportunity to

enter that market with more competitive pricing. This is less likely to occur where there are

significant barriers to entering the market at issue.

         91.     Significant barriers to entry exist in the Automotive Wire Harness market. First, a

new company would face high start-up costs, including millions of dollar costs related to

manufacturing plants, equipment, energy, transportation, distribution infrastructure, skilled labor

and customer relationships.

         92.     Moreover, OEMs cannot immediately swap out one Automotive Wire Harness for

another. An Automotive Wire Harness and vehicle are designed to integrate with one another.

An OEM designs a vehicle to work with the specific Automotive Wire Harness that it will use

for that vehicle, which must fit properly within the vehicle and integrate with the electronics,

among other features, of the vehicle. Any potential new manufacturer of an Automotive Wire

Harness would likely be forced to wait to bid on future models of vehicles that an OEM has not

already designed with a particular Automotive Wire Harness in mind. This contributes to the

high barrier to entering the Automotive Wire Harness market.

         93.     Regarding inelasticity of demand, there is inelasticity of demand for Automotive

Wire Harnesses. “Elasticity is a measure of a variable’s sensitivity to a change in another

variable.”2 Price elasticity of demand is “a measure of the relationship between a change in the

quantity demanded of a particular good and a change in its price.”3 “If a small change in price is



2
    http://www.investopedia.com/terms/e/elasticity.asp
3
    http://www.investopedia.com/terms/p/priceelasticity.asp



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accompanied by a large change in quantity demanded, the produce is said to be elastic (or

responsive to price changes). Conversely, a product is inelastic if a large change in price is

accompanied by a small amount of change in quantity demanded.”4 Customers who have no

cheaper alternative for a product with inelastic demand are forced to continue to purchase the

product at higher prices. Thus, inelastic demand in a market facilitates conspiring by allowing

producers to raise their prices without fear of losing sales to other substitute products (or

customers not buying the product at all).

          94.      Demand for Automotive Wire Harnesses is highly inelastic. No close substitute

products exist. Automotive Wire Harnesses are an essential part of every vehicle and must be

purchased even if prices are raised.

          95.      Regarding the concentration of the market, Defendants dominate the Automotive

Wire Harness market as described above. A highly concentrated market is more susceptible to

collusion and other anti-competitive practices.

          96.      Additionally, Defendant had ample opportunities to conspire.        Defendants

attended industry events, including the annual North American International Auto Show

(“NAIAS”) in Detroit, Michigan, which provided the means and opportunity to further the

conspiracy. Defendants have also regularly attended the Automotive Aftermarket Products Expo

in Las Vegas, Nevada. Defendant Denso was a premier sponsor of the 2012 event, held January

9 to January 22.

                c. Government Investigations into Auto Parts Antitrust Violations

          97.      As discussed above, government investigations into the rampant automotive parts

industry antitrust conspiracies are well documented. The DOJ continues to investigate the “price

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    Id.



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fixing, bid rigging and other anticompetitive conduct in the automotive parts industry…A total of

65 individuals and 47 companies have been charged in the Antitrust Division’s investigations

into the automotive parts industry.”5 The DOJ has described the investigation as the largest

criminal investigation it has ever undertaken. The DOJ has thus far fined companies over $2.9

billion related to this investigation and sentenced dozens to jail terms.6

       98.     Government investigations into the suppliers of Automotive Wire Harnesses

originated in Europe after several European OEMs brought a complaint to the European

Commission (“EC”). In February 2010 and in June 2010, the EC conducted raids on the offices

of several defendants. Also in February 2010, Japan’s Fair Trade Commission (“JFTC”) raided

the Tokyo offices of Furukawa Electric, Sumitomo Electric, and Yazaki Corporation, seeking

evidence of collusion in the industry.        Finally, FBI investigators raided three Detroit-area

Japanese auto parts makers as part of a federal antitrust investigation.

       99.     On January 19, 2012, the JFTC issued Cease and Desist orders against Fukijura

Ltd., and Yazaki Corporation, and fined Sumitomo Electric, Fujikura Ltd., and Yazaki

Corporation based on bidding practices relating to Automotive Wire Harnesses. According to

the JFTC, Sumitomo Electric, Fujikura Ltd., and Yazaki Corporation all violated Japan’s

Antimonopoly Act by rigging bids to OEMs Toyota, Honda, Nissan, and Fuji (manufacturer of

Subaru-brand vehicles) on wire harnesses and related products by appointing the designated

successful bidder and managing to have the designated successful bidder win the bidding. The

JFTC stated that the conspiracy began as early as July 2000, and that Furukawa Electric also had

participated in the bid-rigging conspiracy.

5
  https://www.justice.gov/opa/pr/auto-parts-industry-executive-pleads-guilty-obstruction-justice.
6
  https://www.law360.com/foodbeverage/articles/885906/trends-to-watch-in-doj-cartel-
investigations-this-year.



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       100.      Several companies and their employees pleaded guilty. Furukawa Electric and

three of its executives pleaded guilty to conspiracy to rig bids, allocated customers, and fix prices

of Automotive Wire Harnesses sold to automobile manufacturers in the United States and

elsewhere.

       101.      In January 2012, Yazaki Corporation and four of its executives agreed to plead

guilty to conspiring to rig bids, fix prices, and allocate customers for Automotive Wire

Harnesses, beginning in January 2000 through February 2010.

       102.      In March 2012, DENSO pleaded guilty to antitrust violations relating to electronic

control units.

       103.      In April 2012, Fujikura, Inc. agreed to plead guilty to a conspiracy from January

2006 through February 2010. G.S. Electech, Inc. also agreed to plead guilty to the same conduct

involving speed sensor wire assemblies. Also in April 2012, another executive of DENSO

corporation agreed to plead guilty and to serve fourteen months in U.S. prison for his role in a

conspiracy to fix prices and rig bids for heater control panels installed in U.S. automobiles.

       104.      In June 2012, Autoliv Inc. agreed to plead guilty for its role in a conspiracy to fix

prices of seatbelts, airbags and steering wheels installed in U.S. cars to one automobile

manufacturer and a separate conspiracy to fix prices of seatbelts to another. Additionally,

another executive of Yazaki Corporation agreed to plead guilty for his role in a separate

conspiracy to fix prices of automotive wire harnesses and related products installed in U.S.

automobiles.

       105.      In July 2012, TRW Deutschland Holding GmbH, a subsidiary of U.S.-based TRW

Automotive Holdings Corp., agreed to plead guilty for its involvement in a conspiracy to fix

prices of seatbelts, airbags and steering wheels sold to two German automobile manufacturers,




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and installed in automobiles sold in the United States.

        106.     In August 2012, another executive from Yazaki Corporation agreed to plead

guilty for his role in a conspiracy to fix prices of instrument panel clusters, also known as meters,

installed in automobiles sold in the United States and elsewhere. Additionally, Nippon Seiki Co.

Ltd. agreed to plead guilty for its role in a conspiracy to fix prices of instrument panel clusters

installed in automobiles sold in the United States and elsewhere.

        107.     In October 2012, Tokai Rika Co. Ltd. agreed to plead guilty for its role in a

conspiracy to fix prices of heater control panels installed in automobiles sold in the United States

and elsewhere and for obstruction of justice related to the investigation of the antitrust violation.

        108.     In November 2012, an executive of the Ohio subsidiary of a Japanese automotive

supplier pleaded guilty for his role in a conspiracy to fix prices and rig bids of anti-vibration

rubber parts sold in the United States and elsewhere.

        109.     In May 2013, two DENSO executives agreed to plead guilty for their roles in

international conspiracies to fix prices and rig bids for automotive components including heater

control panels and electronic control units.

        110.     In July 2013, Diamond Electric Mfg. Co. Ltd. agreed to plead guilty for its role in

a conspiracy to fix prices of ignition coils installed in automobiles sold in the United States and

elsewhere. Also in July, Panasonic Corp. and its subsidiary, SANYO Electric Co. Ltd. agreed to

plead guilty for their roles in separate price-fixing conspiracies involving automotive parts

including switches, steering angle sensors, automotive high intensity discharge ballasts, and

battery cells.

        111.     In September 2013, nine Japan-based companies and two executives agreed to

plead guilty for their roles in separate conspiracies to fix the prices of more than thirty different




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products sold to U.S. car manufacturers and installed in automobiles sold in the United States

and elsewhere.

       112.      In November 2013, three executives of Takata Corp. agreed to plead guilty for

their participation in a conspiracy to fix prices of seatbelts installed in automobiles sold in the

United States. Also in November, Toyo Tire & Rubber Co. Ltd. agreed to plead guilty for its

role in two separate conspiracies to fix the prices of automotive components involving anti-

vibration rubber and driveshaft parts installed in automobiles in the United States and elsewhere.

Also in November, Stanley Electric Co. Ltd. agreed to plead guilty for its participation in a

conspiracy to fix prices of lamp ballasts installed in automobiles sold in the United States and

elsewhere.

       113.      In January 2014, Koito Manufacturing Co. Ltd. agreed to plead guilty for its roles

in separate price-fixing conspiracies involving automobile lighting fixtures and lamp ballasts

installed in automobiles sold in the United States and elsewhere. Also in January, the former

president and vice president of Diamond Electric Mfg. Co. Ltd. agreed to plead guilty for their

participation in a global conspiracy to fix prices of ignition coils installed in automobiles sold in

the United States and elsewhere.

       114.      In February 2014, Aisan Industry Co. Ltd., agreed to plead guilty for its role in a

price-fixing conspiracy involving electronic throttle bodies sold in the United States and

elsewhere.    Also in February, Bridgestone Corp. agreed to plead guilty for its role in a

conspiracy to fix prices of automotive anti-vibration rubber parts installed in automobiles sold in

the United States and elsewhere. Two months later, in April 2014, a former executive from

Bridgestone Corp. agreed to plead guilty for his role in the conspiracy.

       115.      In June 2014, an executive of DENSO agreed to plead guilty for his role in a




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conspiracy to fix the prices of instrument panel clusters installed in automobiles sold in the

United States and elsewhere.

       116.    In August 2014, NGK Spark Plug Co. Ltd agreed to plead guilty for its role in a

conspiracy to fix prices and rig bids for spark plugs, standard oxygen sensors, and air fuel ratio

sensors installed in automobiles sold in the United States and elsewhere.

       117.    In September 2014, Toyoda Gosei Co. Ltd. agreed to plead guilty for its role in

conspiracies to fix prices and rig bids for automotive hoses, airbags and steering wheels sold to

automobile manufacturers.

       118.    In October 2014, Hitachi Metals Ltd. agreed to plead guilty for its role in a

conspiracy to fix prices and rig bids for automotive brake hoses installed in automobiles sold in

the United States and elsewhere.

       119.    In November 2014, Continental Automotive Electronics LLC and Continental

Automotive Korea Ltd. agreed to plead guilty for their roles in a conspiracy to rig bids of

instrument panel clusters installed in vehicles manufactured and sold in the United states.

       120.    In December 2014, an executive of T.RAD Co. Ltd. agreed to plead guilty for

participating in a conspiracy to fix prices of radiators installed in automobiles sold in the United

States and elsewhere. Also in December 2014, a former executive of Mitsuba Corporation

agreed to plead guilty for conspiring to fix the prices of windshield wiper systems and start

motors installed in automobiles sold in the United States and elsewhere.

       121.    In January 2015, a former executive of Toyoda Gosei Co. Ltd. agreed to plead

guilty for his role in a conspiracy to fix prices and rig bids of automotive hoses installed in

automobiles sold in the United States.

       122.    The sprawling number of indictments and guilty pleas related to the global




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conspiracy to rig bids and fix prices of various automotive parts is shocking.

    VI. COMPETITIVE INJURY

        123.     Defendants’ conspiracy has harmed each Plaintiff. The cost of new vehicles

containing Automotive Wire Harnesses and replacement parts are supra-competitive because of

Defendant’s conduct. But for Defendants’ conspiracy, automobile dealers, including Plaintiffs,

would not have paid such supra-competitive, artificially inflated prices. Absent the supra-

competitive prices, Plaintiffs would be able to gain the benefits of competition as to Automotive

Wire Harnesses (both in new vehicles and as replacement parts), which would reduce the prices

to a competitive level. Plaintiffs purchased new vehicles containing Automotive Wire Harnesses

and/or Automotive Wire Harnesses as replacement parts from OEMs who had purchased the

Automotive Wire Harnesses from Defendants.            Thus, Plaintiffs paid higher prices for new

vehicles containing Automotive Wire Harnesses and replacement Automotive Wire Harnesses

than they otherwise would have paid absent Defendant’s conspiracy and conduct.

        124.     Each Plaintiff absorbed a substantial portion of the overcharges that they paid due

to Defendants’ illegal activities. Plaintiffs did not pass on all overcharges caused by Defendants’

illegal activities.

        125.     Automotive Wire Harnesses are identifiable, discrete physical products that

remain essentially unchanged when incorporated into a vehicle. As a result, Automotive Wire

Harnesses follow a traceable physical chain of distribution from Defendants to Plaintiffs, and any

costs attributable to Automotive Wire Harnesses can be traced through the chain of distribution

to Plaintiffs.

        126.     The market for Automotive Wire Harnesses and the market for vehicles are

inextricably linked and intertwined because the market for Automotive Wire Harnesses exists to




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serve the vehicle market (either within new vehicles or as replacement parts for vehicles).

Without the vehicles, the Automotive Wire Harnesses have little to no value. The demand for

vehicles creates the demand for Automotive Wire Harnesses.

       127.    Defendants’ conspiracy restrained competition in the United States, including in

all states that permit the recovery of damages by indirect purchasers, and had substantial effects

on the commerce of the United States.

   VII.    DISCOVERY RULE AND FRAUDULENT CONCEALMENT

       128.    Plaintiffs had no knowledge of Defendants’ conduct and conspiracy, as alleged

herein, and had no reason to know of such conduct until the public announcements of

Furukawa’s agreement to plead guilty to participating in the Automotive Wire Harness

conspiracy. Plaintiffs had no knowledge or reason to know of the existence of the conspiracy

prior to that date. Plaintiffs are automobile dealers who had no direct contact or interaction with

any of Defendants and no means to discover the conspiracy. Further, even by that date, Plaintiffs

had no way of discovering the extent of the conspiracy or the number of companies involved

until further guilty pleas were made public.

       129.    Defendants further took affirmative steps to conceal their misconduct.

Defendants kept their agreements, understandings and conspiracies secret.          A price-fixing

conspiracy such as this one is, by its very nature, secretive. As explained in the informations

filed against several Defendants, the conspirators concealed their activities from the authorities

by using code names and arranging meetings at private residences and remote locations.

       130.    Plaintiffs could not have discovered the alleged conspiracy and conduct at an

earlier date by the exercise of reasonable diligence.

       131.    Thus, the discovery rule and Defendants’ fraudulent concealment have tolled the




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running of any applicable statutes of limitations.

          132.   Any applicable statutes of limitations as to Plaintiffs have been further tolled by

the pending class actions.

   VIII. CLAIMS

             a. Count 1 – Violation of Section 1 of the Sherman Act

          133.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

          134.   Defendants and unnamed conspirators entered into and engaged in a contract,

combination or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act (15 U.S.C. §1).

          135.   The acts done by each of Defendants as part of, and in furtherance of, their

contract, combination, or conspiracy were authorized, ordered, or done by their officers, agents,

employees, or representatives while actively engaged in the management of Defendants’ affairs.

          136.   At least as early as January 1999, and continuing through at least the present, the

exact dates being unknown to Plaintiffs, Defendants and their co-conspirators entered into a

continuing agreement, understanding and conspiracy in restraint of trade to rig bids for and to

artificially fix, raise, stabilize and control prices for Automotive Wire Harnesses thereby creating

anticompetitive effects.

          137.   The anti-competitive acts were intentionally directed at the United States market

for Automotive Wire Harnesses and had a substantial and foreseeable effect on interstate

commerce by raising and fixing prices for Automotive Wire Harnesses throughout the United

States.

          138.   The conspiratorial acts and combinations have caused unreasonable restraints in

the market for Automotive Wire Harnesses.




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          139.   As a result of Defendants’ and their co-conspirators’ unlawful conduct, Plaintiffs

have been harmed by purchasing Automotive Wire Harnesses or vehicles containing Automotive

Wire Harnesses manufactured by Defendants or their co-conspirators by being forced to pay

inflated, supra-competitive prices for such products.

          140.   In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices and courses of conduct set forth

herein.

          141.   Defendants’ conspiracy had the following effects, among others:

                 a. Price competition in the market for Automotive Wire Harnesses has been
                    restrained, suppressed and/or eliminated in the United States;

                 b. Prices for Automotive Wire Harnesses sold by Defendants and their co-
                    conspirators have been fixed, raised, maintained and stabilized at artificially
                    high, noncompetitive levels throughout the United States; and

                 c. Plaintiffs who purchased Automotive Wire Harnesses, or vehicles containing
                    Automotive Wire Harnesses manufactured by Defendants and their co-
                    conspirators have been deprived of the benefits of free and open competition
                    and have been forced to pay artificially inflated prices for such products.

          142.   Plaintiffs have been injured and will continue to be injured in their business and

property by paying more for Automotive Wire Harnesses or vehicles containing Automotive

Wire Harnesses manufactured by Defendants and their co-conspirators than they would have

paid and will pay in the absence of the conspiracy.

          143.   The alleged contract, combination, or conspiracy is a per se violation of the

federal antitrust laws.

          144.   Plaintiffs are entitled to an injunction against Defendants, pursuant to 15 U.S.C.

§26, preventing and restraining the violations alleged herein.




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           b. Count 2 – Violation of State Antitrust and Consumer Protection Statutes

       145.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       146.    From as early as January 1999 through at least the present, Defendants and their

co-conspirators engaged in a continuing contract, combination or conspiracy with respect to the

sale of Automotive Wire Harnesses in an unreasonable restraint of trade and commerce and in

violation of the various state antitrust and other statutes set forth below.

       147.    The contract, combination, or conspiracy consisted of an agreement among the

Defendants and their co-conspirators to fix, raise, inflate, stabilize, and/or maintain artificially

supra-competitive prices for Automotive Wire Harnesses and to allocate customers for

Automotive Wire Harnesses in the United States.

       148.    In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including:

               a. Participating in meetings and conversations among themselves during which
                  they agreed to price Automotive Wire Harnesses at certain levels and
                  otherwise to fix, increase, inflate, maintain, or stabilize effective prices paid
                  by Plaintiffs with respect to Automotive Wire Harnesses sold in the United
                  States;

               b. Allocating customers and markets and rigging bids for Automotive Wire
                  Harnesses in the United States in furtherance of their agreements; and

               c. Participating in meetings and conversations among themselves to implement,
                  adhere to and police the unlawful agreements they reached.

       149.    Defendants and their co-conspirators engaged in the actions described above for

the purpose of carrying out their unlawful agreements to fix, maintain, decrease, or stabilize

prices, to rig bids and to allocate customers with respect to Automotive Wire Harnesses.

       150.    The anti-competitive acts were intentionally directed at the market for

Automotive Wire Harnesses in all states in which Plaintiffs do business allowing indirect



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purchasers to collect damages and had a substantial and foreseeable effect on intrastate

commerce by raising and fixing prices for Automotive Wire Harnesses throughout those states.

        151.   Plaintiffs were deprived of free and open competition in all states, including all

states in which Plaintiffs do business allowing indirect purchasers to collect damages, and

Plaintiffs paid supra-competitive, artificially inflated prices for Automotive Wire Harnesses in all

states in which Plaintiffs do business allowing indirect purchasers to collect damages.

        152.   Defendants’ anticompetitive, unfair acts described above were knowing, willful

and constitute flagrant violations of the below-listed state antitrust and consumer protection

statutes.

        153.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Arizona Revised Statutes, §§ 44-1401, et seq.

               a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                   following effects: (1) Automotive Wire Harnesses price competition was

                   restrained, suppressed, and eliminated throughout Arizona; (2) Automotive

                   Wire Harnesses prices were raised, fixed, maintained and stabilized at

                   artificially high levels throughout Arizona; (3) Plaintiffs were deprived of free

                   and open competition; and (4) Plaintiffs paid supra-competitive, artificially

                   inflated prices for Automotive Wire Harnesses and vehicles containing

                   Automotive Wire Harnesses .

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                   affected Arizona commerce.

               c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                   have been injured in their business and property and are threatened with




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                  further injury.

              d. By reason of the foregoing, Defendants entered into agreements in restraint of

                  trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq. Accordingly,

                  Plaintiffs seek all forms of relief available under Ariz. Rev. Stat. §§ 44-1401,

                  et seq.

       154.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Arkansas Code Annotated, §4-88-107(a)(10).

              a. Defendants knowingly agreed to, and did in fact act in, restraint of trade or

                  commerce by affecting, fixing, controlling, and/or maintaining at non-

                  competitive and artificially inflated levels, the prices at which Automotive

                  Wire Harnesses were sold, distributed, or obtained in Arkansas and took

                  efforts to conceal their agreements from Plaintiffs.

              b. The aforementioned conduct on the part of Defendants constituted

                  “unconscionable” and “deceptive” acts or practices in violation of Arkansas

                  Code Annotated, § 4-88-107(a)(10).

              c. Defendants’ unlawful conduct had the following effects: (1) Automotive Wire

                  Harnesses price competition was restrained, suppressed, and eliminated

                  throughout Arkansas; (2) Automotive Wire Harnesses prices were raised,

                  fixed, maintained, and stabilized at artificially high levels throughout

                  Arkansas; (3) Plaintiffs were deprived of free and open competition; and (4)

                  Plaintiffs paid supra-competitive, artificially inflated prices for Automotive

                  Wire Harnesses and vehicles containing Automotive Wire Harnesses.

              d. During the Relevant Time Period, Defendants’ illegal conduct substantially




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                  affected Arkansas commerce and consumers.

              e. As a direct and proximate result of the unlawful conduct of Defendants, have

                  been injured in their business and property and are threatened with further

                  injury.

              f. Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of Arkansas Code Annotated, § 4-88-107(a)(10) and,

                  accordingly, Plaintiffs seek all relief available under that statute.

       155.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the California Business and Professions Code, §§16700, et seq. and §§17200 et seq.

              a. During the Relevant Time Period, Defendants committed and continue to

                  commit acts of unfair competition, as defined by Sections 17200, et seq. of the

                  California Business and Professions Code, by engaging in the acts and

                  practices specified above.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected California commerce and consumers.

              c. This claim is instituted pursuant to Sections 17203 and 17204 of the

                  California Business and Professions Code, to obtain restitution from

                  Defendants for acts, as alleged herein, that violated Section 17200 of the

                  California Business and Professions Code, commonly known as the Unfair

                  Competition Law.

              d. Defendants’ conduct as alleged herein violated Section 17200. The acts,

                  omissions, misrepresentations, practices and non-disclosures of Defendants, as

                  alleged herein, constituted a common, continuous, and continuing course of




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               conduct of unfair competition by means of unfair, unlawful, and/or fraudulent

               business acts or practices within the meaning of California Business and

               Professions Code, Section 17200, et seq., including, but not limited to, the

               following: (1) the violations of Section 1 of the Sherman Act, as set forth

               above; (2) the violations of Section 16720, et seq., of the California Business

               and Professions Code, set forth above;

            e. Defendants’     acts,     omissions,     misrepresentations,   practices,   and

               nondisclosures, as described above, whether or not in violation of Section

               16720, et seq., of the California Business and Professions Code, and whether

               or not concerted or independent acts, are otherwise unfair, unconscionable,

               unlawful or fraudulent;

            f. Defendants’ acts or practices are unfair to purchasers of Automotive Wire

               Harnesses (or vehicles containing them) in the State of California within the

               meaning of Section 17200, California Business and Professions Code; and

            g. Defendants' unlawful conduct had the following effects: (1) Automotive Wire

               Harnesses price competition was restrained, suppressed, and eliminated

               throughout California; (2) Automotive Wire Harnesses prices were raised,

               fixed, maintained, and stabilized at artificially high levels throughout

               California; (3) Plaintiffs, including those who resided in California and/ or

               purchased Automotive Wire Harnesses or vehicles in California, were

               deprived of free and open competition, including in California; and (4)

               Plaintiffs, including those who resided in California and/or purchased

               Automotive Wire Harnesses or vehicles in California, paid supra-competitive,




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                   artificially inflated prices for Automotive Wire Harnesses and vehicles

                   containing Automotive Wire Harnesses, including in California.

               h. Defendants’ acts and practices are fraudulent or deceptive within the meaning

                   of Section 17200 of the California Business and Professions Code.

               i. Plaintiffs are entitled to full restitution and/or disgorgement of all revenues,

                   earnings, profits, compensation, and benefits that may have been obtained by

                   Defendants as a result of such business acts or practices.

               j. The illegal conduct alleged herein is continuing and there is no indication that

                   Defendants will not continue such activity into the future.

               k. As alleged in this Complaint, Defendants and their co-conspirators have been

                   unjustly enriched as a result of their wrongful conduct and by Defendants’

                   unfair competition. Plaintiffs are accordingly entitled to equitable relief

                   including restitution and/or disgorgement of all revenues, earnings, profits,

                   compensation, and benefits that may have been obtained by Defendants as a

                   result of such business practices, pursuant to the California Business and

                   Professions Code, Sections 17203 and 17204.

       156.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §§501.201, et seq.

               a. Defendants’ unlawful conduct had the following effects: (1) Automotive Wire

                   Harnesses price competition was restrained, suppressed, and eliminated

                   throughout Florida; (2) Automotive Wire Harnesses prices were raised, fixed,

                   maintained, and stabilized at artificially high levels throughout Florida; (3)

                   Plaintiffs were deprived of free and open petition; (4) Plaintiffs paid supra-




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                  competitive, artificially inflated prices for Automotive Wire Harnesses.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Florida commerce and purchasers of Automotive Wire Harnesses and

                  vehicles in Florida.

               c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured and are threatened with further injury.

               d. Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of Florida Stat. § 501.201, et seq., and, accordingly,

                  Plaintiffs seek all relief available under that statute.

       157.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Kansas Statutes Annotated, §§ 50-101, et seq.

               a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Wire Harnesses’ price competition was

                  restrained, suppressed, and eliminated throughout Kansas; (2) Automotive

                  Wire Harnesses         prices were raised, fixed, maintained and stabilized at

                  artificially high levels throughout Kansas; (3) Plaintiffs were deprived of free

                  and open competition; and (4) Plaintiffs paid supra-competitive, artificially

                  inflated prices for Automotive Wire Harnesses and vehicles containing

                  Automotive Wire Harnesses.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Kansas commerce.

               c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with




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                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Kansas Stat. Ann. §§ 50-101, et seq.

                  Accordingly, Plaintiffs all forms of relief available under Kansas Stat. Ann. §§

                  50-101, et seq.

       158.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Mississippi Code Annotated §§ 75-21-1, et seq.

              a. Defendants ’and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Wire Harnesses price competition was

                  restrained, suppressed, and eliminated throughout Mississippi; (2) Automotive

                  Wire Harnesses     prices were raised, fixed, maintained and stabilized at

                  artificially high levels throughout Mississippi; (3) Plaintiffs, including those

                  who resided in Mississippi and/or purchased Automotive Wire Harnesses or

                  vehicles in Mississippi, were deprived of free and open competition, including

                  in Mississippi, and (4) Plaintiffs, including those who resided in Mississippi

                  and/or purchased Automotive Wire Harnesses or vehicles in Mississippi, paid

                  supra-competitive, artificially inflated prices for Automotive Wire Harnesses ,

                  including in Mississippi.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Mississippi commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.




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              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Mississippi Code Ann. § 75-21-1, et seq.

                  Accordingly, Plaintiffs seek all relief available under Mississippi Code Ann. §

                  75-21-1, et seq.

       159.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Nebraska Revised Statutes §§ 59-801, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Wire Harnesses price competition was

                  restrained, suppressed, and eliminated throughout Nebraska; (2) Automotive

                  Wire Harnesses prices were raised, fixed, maintained and stabilized at

                  artificially high levels throughout Nebraska; (3) Plaintiffs were deprived of

                  free and open competition; and (4) Plaintiffs and paid supra-competitive,

                  artificially inflated prices for Automotive Wire Harnesses and vehicles

                  containing Automotive Wire Harnesses .

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Nebraska commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Nebraska Revised Statutes §§ 59-801, et seq.

                  Accordingly, Plaintiffs seek all relief available under Nebraska Revised

                  Statutes §§ 59-801, et seq.




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       160.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New Hampshire Revised Statutes §§ 356:1, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Wire Harnesses price competition was

                  restrained, suppressed, and eliminated throughout New Hampshire; (2)

                  Automotive Wire Harnesses         prices were raised, fixed, maintained and

                  stabilized at artificially high levels throughout New Hampshire; (3) Plaintiffs

                  were deprived of free and open competition; and (4) Plaintiffs and paid supra-

                  competitive, artificially inflated prices for Automotive Wire Harnesses and

                  vehicles containing Automotive Wire Harnesses .

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected New Hampshire commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of New Hampshire Revised Statutes §§ 356:1, et

                  seq. Accordingly, Plaintiffs seek all relief available under New Hampshire

                  Revised Statutes §§ 356:1, et seq.

       161.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New Mexico Statutes Annotated §§ 57-1-1, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Wire Harnesses price competition was




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                  restrained, suppressed, and eliminated throughout New Mexico; (2)

                  Automotive Wire Harnesses prices were raised, fixed, maintained and

                  stabilized at artificially high levels throughout New Mexico; (3) Plaintiffs

                  were deprived of free and open competition; and (4) Plaintiffs and paid supra-

                  competitive, artificially inflated prices for Automotive Wire Harnesses and

                  vehicles containing Automotive Wire Harnesses.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected New Mexico commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of New Mexico Statutes Annotated §§ 57-1-1, et

                  seq. Accordingly, Plaintiffs seek all relief available under New Mexico

                  Statutes Annotated §§ 57-1-1, et seq.

       162.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New York General Business Laws §§ 340, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Wire Harnesses price competition was

                  restrained, suppressed, and eliminated throughout New York; (2) Automotive

                  Wire Harnesses prices were raised, fixed, maintained and stabilized at

                  artificially high levels throughout New York; (3) Plaintiffs, including those

                  who resided in New York and/or purchased Automotive Wire Harnesses or




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                   vehicles in New York, were deprived of free and open competition, including

                   in New York; and (4) Plaintiffs, including those who resided in New York

                   and/or purchased Automotive Wire Harnesses or vehicles in New York, paid

                   supra-competitive, artificially inflated prices for Automotive Wire Harnesses

                   when they purchased, including in New York, Automotive Wire Harnesses or

                   vehicles containing Automotive Wire Harnesses, or purchased vehicles and

                   Automotive Wire Harnesses that were otherwise of lower quality than they

                   would have been absent Defendants’ and their co-conspirators’ illegal acts, or

                   were unable to purchase Automotive Wire Harnesses or vehicles that they

                   would have otherwise have purchased absent the illegal conduct.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                   affected New York commerce.

               c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                   have been injured in their business and property and are threatened with

                   further injury.

               d. By reason of the foregoing, Defendants have entered into agreements in

                   restraint of trade in violation of the New York Donnelly Act, §§ 340, et seq.

                   The conduct set forth above is a per se violation of the Act. Accordingly,

                   Plaintiffs seek all relief available under New York Gen. Bus. Law §§ 340, et

                   seq.

       163.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the North Carolina General Statutes §§ 75-1, et seq.

               a. Defendants’ and their co-conspirators’ combinations or conspiracies had the




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                  following effects: (1) Automotive Wire Harnesses price competition was

                  restrained, suppressed, and eliminated throughout North Carolina; (2)

                  Automotive Wire Harnesses prices were raised, fixed, maintained and

                  stabilized at artificially high levels throughout North Carolina; (3) Plaintiffs,

                  including those who resided in North Carolina and/or purchased Automotive

                  Wire Harnesses or vehicles in North Carolina, were deprived of free and open

                  competition, including in North Carolina; and (4) Plaintiffs, including those

                  who resided in North Carolina and/or purchased Automotive Wire Harnesses

                  or vehicles in North Carolina, paid supra-competitive, artificially inflated

                  prices for Automotive Wire Harnesses and vehicles containing Automotive

                  Wire Harnesses, including in North Carolina.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected North Carolina commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of North Carolina General Statutes §§ 75-1, et

                  seq. Accordingly, Plaintiffs seek all relief available under North Carolina

                  General Statutes §§ 75-1, et seq.

       164.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Oregon Revised Statutes §§ 646.705, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the




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                  following effects: (1) Automotive Wire Harnesses price competition was

                  restrained, suppressed, and eliminated throughout Oregon (2) Automotive

                  Wire Harnesses prices were raised, fixed, maintained and stabilized at

                  artificially high levels throughout Oregon; (3) Plaintiffs were deprived of free

                  and open competition; and (4) Plaintiffs and paid supra-competitive,

                  artificially inflated prices for Automotive Wire Harnesses and vehicles

                  containing Automotive Wire Harnesses.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Oregon commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Oregon Revised Statutes §§ 646.705, et seq.

                  Accordingly, Plaintiffs seek all relief available under Oregon Revised Statutes

                  §§ 646.705, et seq.

       165.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the South Carolina Unfair Trade Practices Act, S.C. Code Ann. §§ 39-5-10, et seq.

              a. Defendants’ combinations or conspiracies had the following effects: (1)

                  Automotive Wire Harnesses price competition was restrained, suppressed, and

                  eliminated throughout South Carolina; (2) Automotive Wire Harnesses prices

                  were raised, fixed, maintained, and stabilized at artificially high levels

                  throughout South Carolina; (3) Plaintiffs were deprived of free and open




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                  competition; and (4) Plaintiffs paid supra-competitive, artificially inflated

                  prices for Automotive Wire Harnesses and vehicles containing Automotive

                  Wire Harnesses.

              b. During the Relevant Time Period, Defendants’ illegal conduct had a

                  substantial effect on South Carolina commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of S.C. Code Ann. §§ 39-5-10, et seq., and, accordingly,

                  Plaintiffs seek all relief available under that statute.

       166.   Specifically, Plaintiff Group 1 Automotive brings claims pursuant to the state

statutes as set forth above against Defendants for the following states: California, Florida,

Kansas, Mississippi, New Hampshire, New Mexico, New York, and South Carolina.

       167.   Plaintiff Asbury Automotive brings claims pursuant to the state statutes as set

forth above against Defendants for the following states: Arkansas, California, Florida,

Mississippi, North Carolina, Oregon, South Carolina.

       168.   Plaintiff VTG Automotive brings claims pursuant to the state statutes as set forth

above against Defendants for the following states: Arizona, Florida, California, Nebraska, New

Mexico.

       169.   Plaintiffs Major Automotive, City World Motors, and Bronx Ford bring claims

pursuant to the New York statutes set forth above against Defendants.

       170.   Plaintiffs, having purchased new automobiles containing Automotive Wire




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Harnesses and/or replacement parts for Automotive Wire Harnesses in the above states, as set

forth in Paragraphs 166-69 supra have been injured in their business and property by reason of

Defendants’ unlawful combination, contract, conspiracy and agreement. Plaintiffs have paid

more for Automotive Wire Harnesses or vehicles containing Automotive Wire Harnesses than

they otherwise would have paid in the absence of Defendants’ unlawful conduct. This injury is

of the type the antitrust laws of the above states were designed to prevent and flows from

Defendants’ unlawful conduct.

       171.    Defendants’ violations of the above-listed state laws, as set forth in Paragraphs

166-69 supra have proximately caused the injuries sustained by Plaintiffs.

       172.    In addition, Defendants have profited significantly from the aforesaid conspiracy.

Defendants’ profits derived from their anticompetitive conduct some at the expense and

detriment of Plaintiffs.

       173.    Accordingly, Plaintiffs seek damages (including statutory damages where

applicable), to be trebled or otherwise increased as permitted by a particular jurisdiction’s

antitrust or consumer protection law, and costs of suit, including reasonable attorneys’ fees, to

the extent permitted by the above state laws.

           c. Count 3 – Unjust Enrichment

       174.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       175.    Plaintiffs Group 1 Automotive, Asbury Automotive, and VTG bring this claim

under the laws of all states listed in Paragraph 166-69 respectively supra, except California.

Plaintiff Group 1 Automotive also brings this claim under the laws of Massachusetts. Plaintiff

Asbury Automotive also brings this claim under the laws of Missouri. Plaintiff VTG also brings

this claim under the laws of Missouri and Illinois.




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       176.    Plaintiffs Major Automotive, City World Motors, and Bronx Ford bring this claim

under the laws of New York.

       177.    As a result of their unlawful conduct described above, Defendants have and will

continue to be unjustly enriched. Defendants have been unjustly enriched by the receipt of, at a

minimum, unlawfully inflated prices and unlawful profits on sales of Automotive Wire

Harnesses.

       178.    Defendants have benefited from their unlawful acts and it would be inequitable

for Defendants to be permitted to retain any of the ill-gotten gains resulting from the

overpayments made by Plaintiffs for Automotive Wire Harnesses.

       179.     Plaintiffs are entitled to the amount of Defendants’ ill-gotten gains resulting

from their unlawful, unjust, and inequitable conduct.

       180.    Pursuit of any remedies against the OEMs from whom Plaintiffs purchased

vehicles containing Automotive Wire Harnesses and Automotive Wire Harnesses as replacement

parts would have been futile, given that those OEMs did not take part in Defendants’ conspiracy.

   IX. DEMAND FOR JURY TRIAL

       181.    Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand that, at the trial of this cause,

a jury be empaneled to determine all disputed issues of fact.

   X. PRAYER

       WHEREFORE, Plaintiffs pray for relief and judgment as follows:

               1. Judgment in favor of each Plaintiff and against each Defendant, in an amount

                   to be determined at trial including, but not limited to, compensatory damages,

                   trebled damages, and pre-judgment and post-judgment interest, as permitted

                   by law;




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            2. An award of the cost of the suit, including a reasonable attorney's fee; and

            3. Such other and further relief as the Court deems just, equitable, and proper.



DATED: June 23, 2017                              Respectfully submitted,

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